        Case:5:17-cv-02990-BLF
        Case  19-16960, 09/13/2021, ID: 12226143,
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                   UNITED STATES COURT OF APPEALS
                                                                         FILED
                           FOR THE NINTH CIRCUIT
                                                                         SEP 13 2021
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 DANIEL WARMENHOVEN,                            No. 19-16960

               Plaintiff - Appellant,
                                                D.C. No. 5:17-cv-02990-BLF
   v.                                           U.S. District Court for Northern
                                                California, San Jose
 NETAPP, INC. and NETAPP
 EXECUTIVE MEDICAL                              ORDER
 RETIREMENT PLAN,

               Defendants - Appellees.



At the direction of the Court, the parties shall bear their own costs.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT

                                                By: Anthony Kurosh Molavi
                                                Deputy Clerk
                                                Ninth Circuit Rule 27-7
